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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 16-CR-20893-FAM

  UNITED STATES OF AMERICA,

  vs.

  MONTY RAY GROW,

              Defendant.
  _______________________________/

                            DEFENDANT’S MOTION TO COMPEL

           Defendant Monty Ray Grow, through undersigned counsel, hereby moves this Court to

  compel the government to produce (i) documents produced to the government by Patient Care

  America (“PCA”) pursuant to PCA’s limited waiver of its attorney-client privilege, (ii) witness

  and exhibit lists and any Jencks material thirty days in advance of the October 16 trial date, and

  states as follows:

                                           DISCUSSION

        A. The Government Should Be Compelled to Disclose All Documents Voluntarily
           Produced by PCA Pursuant to its Limited Attorney-Client Privilege Waiver

           The charges in this case stem from Mr. Grow’s work as a sales and marketing

  representative for PCA, a Florida-based pharmacy that produced and dispensed prescription

  compounded medications, including topical pain and scar creams. We understand that for the last

  year, PCA has produced over 1.1 million pages of material to the government pursuant to one or

  more Grand Jury subpoenas. From what we can tell, the government has since turned over the

  overwhelming majority of PCA-produced documents to the defense. Before doing so, however,

  the government insisted upon (and Mr. Grow agreed to) a Protective Order governing the

  disclosure of private heath and financial information. [DE 22].
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         In April, defense counsel learned that the government was withholding a subset of PCA

  documents from defense counsel on grounds of privilege. As we understood it, PCA produced

  otherwise privileged materials to the government pursuant to a limited waiver of the attorney-client

  privilege “as an expression of assistance and cooperation with the government’s criminal

  investigation.” Letter from K. Larsen to D. Rashbaum (Jul. 26, 2017). Notwithstanding this

  production, the government explained, PCA was insisting that the documents somehow retained

  their privilege and therefore could not be disclosed to Mr. Grow. As we explained to the

  government, PCA waived that privilege when it produced the documents in question to the

  government. Thus, the government could no longer withhold documents from Mr. Grow on the

  basis of privilege. The government did not immediately respond, but instead agreed to look into

  the matter.

         In July, defense counsel sent an email to the government questioning when we could expect

  to receive the documents produced by PCA pursuant to its limited privilege waiver. Email from

  M. Pineiro to K. Larsen (Jul. 6, 2017).1 During a conference call with the government that

  followed on July 11, defense counsel were told that PCA made a narrow production to the

  government pursuant to a privilege waiver limited to one issue: the transition of PCA sales

  representatives like Mr. Grow from 1099 consultants to W-2 employees, a process that Mr. Grow’s

  Indictment specifically addresses. [DE 3 ¶ 15]. The government advised that while some of those

  documents may ultimately be produced to Mr. Grow, PCA (having previously produced the

  documents to the government) was asking for an opportunity to make further redactions before

  any were turned over.




  1
    Copies of this and any other written correspondence between the government and defense counsel will
  be provided to the Court upon request.

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         On July 28, defense counsel again asked the government about the status of the once-

  privileged PCA documents. The government responded that it was sending over a production

  containing “documents subject to PCA’s limited privilege waiver that we believe are relevant to

  your client and that we are required to produce . . . .” Email from K. Larsen to D. Rashbaum (Jul.

  28, 2017). In a letter received by defense counsel on July 31, the government stated:

         As you know PCA’s narrow and limited waiver pertains to the company’s decisions
         to engage marketers and marketing groups for the sales of non-sterile cream
         products beginning in the spring and summer of 2014, to convert those marketers
         from 1099 contractors to W2 employees in 2015, and to terminate those marketers’
         relationships in the summer of 2015. In compliance with your discovery request as
         well as under obligations contained in Fed. R. Crim. P. 16(a) and the Standing
         Discovery Order, the government will produce accompanying this letter all
         documents covered by PCA's limited waiver that are relevant to your client.

  Letter from K. Larsen to D. Rashbaum (Jul. 26, 2017). In the government’s view, documents

  “relevant to” Mr. Grow included only those materials that “included Mr. Grow as either a sender

  or recipient, as well as any documents that contained any discussion about Mr. Grow in any manner

  whatsoever.” Id.

         Upon receipt of that letter, defense counsel urged the government to reconsider its narrow

  definition of relevance, and explained that from what we understand, Mr. Grow may have had a

  number of informal verbal conversations with PCA employees about their discussions with (or

  their understanding which derived from their discussions with) PCA’s counsel and others. As a

  result, we argued, limited waiver documents would be relevant regardless of whether Mr. Grow is

  referenced in or was a sender or recipient of any of the materials in question. Email from D.

  Rashbaum to K. Larsen (Jul. 31, 2017). During an August 7 conference call that followed, the

  government declined to produce anything further. The government explained that the documents

  remain subject to PCA’s attorney-client privilege, which PCA had yet to waive. Defense counsel

  responded that the documents, having been produced by PCA to the government, were no longer

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  privileged and therefore could not be withheld from production on that basis. The government

  responded to defense counsel that its hands were tied, and urged us to speak with counsel for PCA

  and inquire whether the company would be willing to waive privilege in order to allow the

  government to produce the documents.

         Defense counsel have since done just that. And on August 28, defense counsel received

  an email from the government that included PCA’s verbatim response on this issue. Email from

  K. Larsen to D. Rashbaum (Aug. 28, 2017). In it, PCA acknowledged that any “privilege has been

  waived by [its] production” to the government. Id. Still, PCA asked that the yet-to-be-disclosed

  documents “not be shared with any third party,” including Mr. Grow, “since they contain sensitive,

  confidential, or proprietary material relating to Patient Care America.” Id. Recognizing, however,

  that the decision of whether to produce certain documents rests entirely with the government, PCA

  urged that any further production be made pursuant to a protective order. Id.

         In terms of privilege, PCA’s assessment was absolutely correct, and was precisely the same

  analysis that we had iterated to the government for the last several months. PCA voluntarily

  produced privileged documents to the government pursuant to a limited waiver of its attorney-

  client privilege. In doing so, PCA waived its privilege. The government therefore cannot hide

  behind privilege to withhold those same documents from Mr. Grow. In re Pacific Pictures Corp.,

  679 F.3d 1121, 1127-28 (9th Cir. 2012) (rejecting the theory of selective waiver, and concluding

  that a party’s production of privileged documents to the government resulted in a waiver of the

  privilege); In re Quest Commc’ns. Int’l Inc., 450 F.3d 1179, 1196-97 (10th Cir. 2006) (same).

         With the question of privilege settled by PCA, the government was left without any

  articulated basis to withhold the documents at issue from Mr. Grow. However, three days ago, the

  government – for the first time in months of discussion on this issue – came up with four new



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  bases: (1) the documents at issue contain confidential proprietary information related to PCA; (2)

  the documents “reference several unrelated targets of ongoing criminal investigations that could

  jeopardize the covert nature of those investigations, (3) requiring the government to produce the

  documents at issue “would unduly prejudice the government,” and (4) “Mr. Grow does not have

  any compelling interest in the receipt of such irrelevant information,” which is to say, the

  documents are irrelevant. Email from K. Larsen to D. Rashbaum (Aug. 28, 2017). None of these

  arguments has merit.

         The government cannot credibly claim that the production of documents whose privilege

  has been waived would implicate sensitivity concerns, jeopardize ongoing investigations or burden

  the government. To the extent that the government (or PCA) is concerned that any of the

  documents contain confidential, proprietary or sensitive PCA information, those concerns can

  easily be addressed by following the procedures set forth in the Protective Order already in place,

  something the government has yet to do in this case despite the reams of patient and financial

  information it has already produced.2

         Similarly, any concerns about ongoing investigations, which the government has never

  raised before, fall flat. The government chose the timing of Mr. Grow’s indictment, and opted to

  charge him as the lone defendant in this case. The fact that the government is investigating other

  putative targets should not deprive Mr. Grow of whatever documents may be material to his

  defense. Further, defense counsel know of several individuals who have received target letters

  from the government or are otherwise the subject of the government’s ongoing investigation. All

  are referenced throughout the 1.1 million pages of material the government has already produced.


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    Significantly, of the more than 1.1 million PCA documents produced to Mr. Grow, including 131 pages
  that were part of PCA’s limited privilege waiver, the government does not appear to have designated any
  “confidential,” as required by the Protective Order. [DE 22 ¶ 6]. Nonetheless, Mr. Grow intends to treat
  these materials as “confidential” in keeping with the spirit of the Protective Order.

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  The government has not (and cannot) claim that Mr. Grow has in any way obstructed or interfered

  with the government’s investigation of those targets.

         In terms of prejudice, the government has already produced over 1.1 million pages of

  material to Mr. Grow. We strongly suspect that the documents that are the subject of PCA’s

  privilege waiver comprise a fraction of that number. Any burden to the government in producing

  those documents therefore would be negligible at best.

         The government’s final claim, that Mr. Grow does not have “compelling need” for the

  documents at issue, boils down to relevance. That is, the government has suggested that it is only

  required to produce “documents covered by PCA’s limited waiver that are relevant” to Mr. Grow.

  Letter from K. Larsen to D. Rashbaum (Jul. 26, 2017).         The government’s sudden focus on

  relevance is curious given that in March, the government “dumped” PCA’s entire 1.1 million page-

  production to the government, a large portion of which has absolutely no bearing on Mr. Grow, on

  defense counsel. More to the point, however, the government confuses the relevance standard for

  admissibility at trial with the standard for production under Fed. R. Crim. P. 16(a)(1)(E), which

  requires only that a document be “material to preparing the defense.” For the purpose of Rule 16,

  evidence is material so long as “there is a strong indication that it will play an important role in

  uncovering admissible evidence, aiding witness preparation, corroborating testimony, or assisting

  impeachment or rebuttal.” United States v. Slough, 22 F. Supp. 3d 1, 4-5 (D.C. Cir. 2014) (citation

  omitted). While the onus of proving materiality lies with the defendant, the burden is “not a heavy”

  one. Id. As we have explained to the government, Mr. Grow intends to present a good-faith

  defense at trial based in part on his conversations with one or more PCA employees that were

  informed by the employees’ discussions with company counsel and others. To the extent that any




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  of the materials the government is withholding reflect these discussions, their production should

  be compelled.

      B. The Government Should be Compelled to Disclose Witness and Exhibit Lists and
         Jencks Material Thirty Days Before Trial

         While the government has indicated that this case will take just 8 days to try, the breadth

  of this case is far more substantial. The Indictment against Mr. Grow includes 52 separate Counts

  and references more than 20 patients and sales representatives, whom the Indictment identifies by

  their initials.3 And at the risk of repetition, the government has produced over 1.1 million pages

  of material to the defense in discovery with additional documents outstanding. Needless to say,

  defense counsel face a daunting task of preparing this case for trial. We therefore request that the

  government be compelled to disclose its witness and exhibit lists 30 days before trial, and to

  produce early Jencks. Thirty days, while difficult, would suffice.

         We recognize that the Jencks Act does not require the government to produce statements

  of witnesses who will testify on the government’s behalf until the conclusion of direct examination.

  But the Act also does not prohibit the government from doing what one court has lauded as a

  “salutary practice.” United States v. Campagnuolo, 592 F.2d 852, 858 n.3 (5th Cir. 1979). Further,

  at least one court has ruled that in complex cases with a substantial number of anticipated

  witnesses, courts have the discretion to require early disclosure of Jencks material to ensure a fair

  and efficient trial commensurate with due process. United States v. Narciso, 446 F. Supp. 252,

  270-71 (E.D. Mich. 1976), disagreed with on other grounds, United States v. Griffith, 864 F.2d

  421 (6th Cir. 1988) (noting that early disclosure of Jencks material furthers “the interests of due


  3
    We understand that the government has filed a Superseding Indictment against Mr. Grow. While the
  Superseding Indictment has yet to be unsealed, we understand that the government may have eliminated
  counts in some cases and added counts in others. We therefore do not know what impact, if any, it will
  have on the government’s case or, for that matter, on the October 16 trial date.


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  process of law, effective assistance of counsel and the fair and efficient conduct of criminal

  trials.”); see also United States v. Colson, 662 F.2d 1389, 1391-92 (11th Cir. 1981) (noting that

  courts have the discretion to compel the government to disclose its witnesses before trial).

            The government has agreed to defense counsel’s request for early disclosure of its witness

  and exhibit lists, but only if Mr. Grow agrees to disclose his witness and exhibit lists 21 days before

  trial, which is something we simply cannot agree to. Email from K. Larsen to D. Rashbaum (Aug.

  28, 2017). The government has produced virtually no 302 Reports, reports of investigation or

  grand jury testimony, leaving defense counsel in the dark about so much of the government’s

  case. Further, with the government bearing the burden of proof, defense exhibit and witness lists

  are not typically required until the end of the government’s case-in-chief. If we were provided

  with early Jencks and other 302s, we would be in a better position to provide the government with

  preliminary lists before trial. Absent such information, however, we cannot agree to the early

  disclosure of reciprocal exhibit and witness lists.4

                                                 CONCLUSION

            For the reasons set forth herein, Defendant Monty Ray Grow respectfully requests that this

  Court enter an order compelling the government to produce (i) documents produced to the

  government by PCA pursuant to PCA’s limited waiver of its attorney-client privilege, (ii) witness

  and exhibit lists and any Jencks material thirty days in advance of the October 16 trial date.




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      The defense will, of course, continue to meet its reciprocal discovery obligations.

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                                                       Respectfully Submitted,

                                                       /s/ Daniel L. Rashbaum
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                                                       Counsel for Defendant Monty Ray Grow



                            LOCAL RULE 88.9(a) CERTIFICATION

         Undersigned counsel has conferred with counsel for the government in a good faith effort

  to resolve the issues raised in this Motion and have been unable to do so.

                                                       By:    /s/ Daniel L. Rashbaum
                                                              Daniel L. Rashbaum




                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 31, 2017, a true and correct copy of the foregoing motion

  was served via CM/ECF on all counsel of record.

                                                       By:    /s/ Daniel L. Rashbaum
                                                              Daniel L. Rashbaum




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